               Case 2:10-cr-00238-GMN-GWF                  Document 52       Filed 10/25/11     Page 1 of 1
        PS 8
        (Revised12m )
                                      UNITED STA TES DISTRICT CO URT
                                                  for the
                                           DISTRICT OF NEVADA
        U.S.A .vs.CarolCOPPING                                      DocketNo.2:10-cr-238-GM N-GW F-2

                                     Petition forA ction on Conditions ofPretrialRelease

                COM ES NOW Sam ira Barlow,UNITED STATES PRE'I'RIAL SERVICES OFFICER,
        presenting an officialreportupon theconductofdefendantCarolCopping, w ho w asplaced under
        pretrialrelease supervision by YourHonorsitting in the Courtatl-as V egas,N evada on M ay 14,
        2010 on a PersonalRecognizance Bond,w ith the follow ing conditions:

        1.       PretrialServicessupervision.
        2.       M aintain oractively seek em ploym ent.
        3.       Undergo m entalhealth treatm entas directed by PretrialServices.
        4.       M aintain residenceatthehalfway houseuntildirected by doctorto bereleased.


                              Respectfullypresenting petition foraction ofCourtand forcauseasfollows:

        1.       Basedupon thedefendant'scom pliancewiththeconditionsofherrelease,PretrialServices
    '
                 recom m endsthatthe defendant'sconditionsofreleasebem odified to rem ove the follow ing
                 conditions:PretrialServicessupervision;maintain oractively seek employment;undergo
                 mental health treatmentas directed by PretrialServices;and m aintain residence atthe
                 halfway house untildirected by doctorto be released


        PRAYING THAT THE COURT W ILL ORDER THAT:thedefendant'sconditionsofrelease
        are modified to removePretrialSew icessupelvision;m aintain oractively seek employm ent;
        undergo mentalhealth treatm entasdirected byPretrialServices;and m aintain residenceatthe
        halfway houseuntildirected by doctorto be released

1        ORDER OF COURT                                           Id
!                                                                   eclareunderpenaltyofperjurythatthe
!                                                                 inform ation herein is true and correct.
         Considered and ordered this        day of                Executed on this 17thday ofO ctober, 2011.
         October,2011 and ordered filed and m ade a
         partofthe records in the above case.                     Respect     Subm itted

                                                                                                >             -

         Hon a           eggy A .Leen                             Sam ira Barlow
         U nited                '                                 United States PretrialServices Officer
                            FIL 9                   RECEIVE'
                            ENTEREP                 CERVEB 0N
                                    (:IIIJNSEI/ARTIE!QFZEZPRD     Place:Las V egas,Nevada

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